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                                      EXHIBIT D

                                   Remnant Asset APA




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                                     ASSET PURCHASE AGREEMENT

        THIS ASSET PURCHASE AGREEMENT (this “Agreement”), dated as of March __, 2023, is
by and between CR HOLDING LIQUIDATING, INC., ET AL. (collectively, “Debtors” or “Seller”),1
BANKRUPTCY ESTATES (collectively, “Estates”), and OAK POINT PARTNERS, LLC
(“Purchaser”).

                                                 WITNESSETH:

        WHEREAS, on or about February 3, 2019, the Debtors each filed a voluntary petition for relief
under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of
Delaware (“Court”), jointly administered under Case No. 19-10210; and

        WHEREAS, on or about March 5, 2019, the Court entered an order approving the employment
and retention of Berkeley Research Group, LLC to provide Brian Cashman as Chief Restructuring Officer
of the Debtors; and

        WHEREAS, at the time of the execution of this Agreement and continuing into the future, there
may be property of the Estates remaining, consisting of known or unknown assets or claims which have
not been previously sold, assigned, or transferred (collectively, “Remnant Assets”); and

         WHEREAS, Remnant Assets specifically exclude: (a) cash held at the time of this Agreement in
the Seller’s fiduciary bank account for the Debtors’ cases; provided, however, that any cash that exists in
such bank account one year from the date of the closing of the Debtors’ cases, except as provided in sub
provision (b) herein, shall be Remnant Assets; (b) any returned or undeliverable creditor claim
distribution checks that require administration in accordance with 11 U.S.C. § 347(a); (c) any and all
Goods 2 (e.g., office furniture) of the Debtors; (d) the books and records used by the Debtors in the
ordinary course of business, but excluding any recent statements, notices or correspondence received by
the Seller relating to Remnant Assets specifically acquired in this Agreement; (e) any US Trustee fee
reimbursements for unconstitutional over-payments made pursuant to the 2017 statutory amendment
during the course of the Debtors’ bankruptcy cases; (f) the Estates’ rights to and interests in all anticipated
state tax refunds for tax years 2016 – 2021; provided, however, that any such tax refunds that have not
actually been received by the Seller within one year after the date of this Agreement shall be Remnant
Assets; and (g) the Purchase Price (as hereinafter defined) to be delivered pursuant hereto; and

          WHEREAS, subject to Court approval, Seller has the power and authority to sell and assign all
right, title and interest in and to the Remnant Assets to Purchaser, including, but not limited to the
proceeds thereof.

        NOW THEREFORE, in consideration of the promises and mutual undertakings herein
contained, Seller and Purchaser agree as follows:

1. Purchase Price. The Purchase Price shall be good funds in the amount of Twenty-Five Thousand
and No/100 Dollars ($25,000.00) payable within 3 business days of receipt by Purchaser of this executed


1
  The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows: CR
Holding Liquidating, Inc. (4325); CR Holdings Liquidating Corporation (1045); CR Intermediate Liquidating
Corporation (6345); CR Enterprise, Inc. (2527); CR Liquidating, Inc. (0505); CR Merchandising Liquidating, Inc.
(9453); and CR Administration Liquidating, Inc. (9456).
2
  The term “Goods” as used herein shall have the meaning ascribed to it under § 9-102(a)(44) of the Uniform
Commercial Code.
                                                                                                                        1
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Agreement and the entry of a non-appealable Order of the Court approving this Agreement.

2. Assignment of Remnant Assets. Seller hereby irrevocably and unconditionally sells, assigns,
transfers and conveys to Purchaser all of Seller’s right, title and interest under, in and to the Remnant
Assets, as well as any and all claims and rights related to the Remnant Assets, including, without
limitation, all cash, securities, instruments and other property that may be paid or issued in conjunction
with the Remnant Assets and all amounts, interest, and costs due under the Remnant Assets.

3. Authority to Sell. Subject to Court approval, the sale of the Remnant Assets by Seller is made
pursuant to the authority vested in Seller.

4. Payments Received on Remnant Assets. Seller further agrees that any payments received by Seller
on account of any Remnant Assets shall constitute property of Purchaser to which Purchaser has an
absolute right, and that Seller will promptly deliver such payment to Purchaser at Purchaser’s address set
forth below. Seller agrees to use reasonable efforts to forward to Purchaser notices received with respect
to any Remnant Assets.

5. Seller’s Representations and Warranties. In consideration of Purchaser’s agreements herein and to
induce Purchaser to enter into this Agreement, Seller represents and warrants to Purchaser that Seller has
full lawful right, title, power and authority to enter into this Agreement and to convey Seller’s interest to
Purchaser in the Remnant Assets as is set forth in this Agreement.

EXCEPT AS SPECIFICALLY SET FORTH HEREIN, SELLER SELLS, ASSIGNS, AND
TRANSFERS THE REMNANT ASSETS TO PURCHASER “AS IS, WHERE IS” WITHOUT
ANY REPRESENTATIONS OR WARRANTIES WHATSOEVER, WHETHER EXPRESS,
IMPLIED OR IMPOSED BY LAW.

6. Free and Clear Sale. The sale of Remnant Assets shall be free and clear of any liens, claims, or
encumbrances pursuant to 11 U.S.C. § 363(f).

7. No Assumption of Liabilities. Notwithstanding any other provision of this Agreement, the parties
agree that Purchaser is acquiring only the Remnant Assets and rights and interests related thereto, and that
Purchaser is not acquiring or assuming, nor shall it be deemed to have acquired or assumed, any liabilities
or obligations, including lien obligations, of Seller or its affiliates of any kind or nature, whatsoever,
whether known or unknown, existent or future, arising out of, or in connection with, the Remnant Assets,
except as may otherwise expressly be provided herein.

8. Documents of Assignment. From time to time upon request from Purchaser, Seller shall execute and
deliver to Purchaser such documents reasonably requested by Purchaser to evidence and effectuate the
transfer contemplated by this Agreement in a form reasonably acceptable to the parties hereto. However,
Purchaser shall reimburse Seller for its reasonable costs associated with such compliance.

9. Limited Power of Attorney. Solely with respect to the Remnant Assets, and to the extent permitted
by law, Seller hereby irrevocably appoints Purchaser as its true and lawful attorney and authorizes
Purchaser to act in Seller’s stead, to demand, sue for, compromise and recover all such amounts as now
are, or may hereafter become, due and payable for or on account of the Remnant Assets herein assigned.
Seller grants unto Purchaser full authority to do all things necessary to enforce the transfer of the
Remnant Assets to Purchaser and its rights thereunder pursuant to this Agreement.

10. Entire Agreement. This Agreement embodies the entire agreement and understanding between
Seller and Purchaser and supersedes any and all prior agreements and understandings with respect to the
subject matter hereof. This Agreement may not be amended or in any manner modified unless such

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amendment or modification is in writing and signed by both parties.

11. Benefits and Binding Effect. All provisions contained in this Agreement or any document referred
to herein or relating hereto shall inure to the benefit of and shall be binding upon the respective successors
and assigns of Seller and Purchaser.

12. Governing Law. This Agreement shall be governed by and construed in accordance with the internal
laws of the State of Delaware, without giving effect to choice of law principles of the State of Delaware.

13. Counterparts. This Agreement may be executed in one or more counterparts, each of which shall be
deemed an original but all of which together will constitute one and the same instrument, and copies or
facsimiles of execution signatures shall be equivalent to original signatures.

THIS AGREEMENT has been duly executed as of the day and year first above written.



OAK POINT PARTNERS, LLC

By: ______________________________
Name: ERIC LINN
Its: Chief Executive Officer & President

Address (for regular mail and mail forwarding): PO Box 1033, Northbrook, IL 60065-1033
Address (for overnight delivery): 5215 Old Orchard Road, Suite 1000, Skokie, IL 60077
Tel (847) 577-1269      Fax (847) 655-2746



CR HOLDING LIQUIDATING, INC., ET AL., BANKRUPTCY ESTATES

By: ______________________________
Name: BRIAN CASHMAN
Its: Chief Restructuring Officer

Address: c/o Berkeley Research Group, LLC, 99 High Street, 27th Floor, Boston, MA 02110
Tel (774) 266-8025




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